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IN THE UNITED STATES DISTRICT COURT
FOR THE N()RTHERN DISTRICT OF ILLINOIS,

EASTERN DIVISION
BACKPAGE.COM, LLC,
Plaintiff, No. l:l§-cv-06340
v. Judge John J. Tharp, Jr.
THOMAS J. DART, Sheriff of Cook County, Magi$fl`€lf€ JUdg€ YOuIlg B. Kim
Illinois
Defendant.

 

SCHIFF’S RESPONSE TO DART’S SANCTIONS MOTION

As reflected in the May 2, 2018 letter from Sheriff Dart’s counsel, Paul Kozacky, a copy
of which is attached as Exhibit A, Sheriff’ s Motion For Sanctions Against Backpage and its
Attorneys (the “Sanctions Motion”) is not directed to Schift` Hardin LLP or its attorneys As
such, an order should be entered promptly denying the motion in that regard

While Schiff appears to be out of Dart’s current cross~hairs, professional responsibility
nonetheless compels it to highlight the risk Dart’s motion presents The First Amendment is not
self-enforcing lt depends on lawyers to give it meaning lf lawyers are intimidated from
pursuing First Amendment claims on behalf of their clients, the rights of those clients are
significantly diminished, the ability to challenge unconstitutional intrusions is hampered and free
speech is chilled. Yet that is precisely what Dart’s Sanctions Motion is intended to do. By
seeking sanctions against lawyers for pursuing a claim that the Seventh Circuit has already held
has credence, Dart is sending a clear message that lawyers risk financial peril simply for
attempting to vindicate their client’s rights Giving that message credibility would Set a very

dangerous precedent

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WHEREFORE, the Sanctions l\/lotion should be denied in its entirety, but certainly as it

applies to Schiff Hardin LLP and any of its lawyers

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By: /s/ Charles H.R. Peters

Charles H.R. Peters

SCHIFF HARDIN, LLP

233 South Wacker Drive, Suite 7100
Chicago, IL 60606

Telephone: (312) 258-5500

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CERTIFICATE OF SERVICE

l certify that on May 17, 2018 l caused to be served a copy of Schift` s Response to Dart’s
Sanctions Motion via the Couit’s ECF system on all counsel of record registered through that

system to receive electronic filings in this case.

Charles H.R. Peters
/s/ Charles H.R. Peters

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EXHIBIT A

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KozAcKY WEszEL MCGRATH P.C.

 
   

   

 

 

 

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May 2, 2018

advanced via emaz`l_cpeters@schg'fjhardin. com

Charles H.R. Peters, Esq.

Schiff Hardin LLP

233 South Wacker Drive, Suite 6600
Chicago, Illinois 60606

Re: Backpage. com v. Sheriff of Cook County, ]llinois
No. 15-cv-6340 (N.D. Illinois)

Dear Chip:
Further to my comment to you following court last Week, the pending motion for

sanctions (ECF No. 226) is not directed to you or your furn. It is directed to Backpage.com, the
firm Davis Wright Tremaine, LLP, and several of its attorneys for their conduct as detailed in the

motions for sanctions

The Sheriff reserves his right to expand the scope of his sanctions motion if further
investigation deems that appropriate

V ly yours,

W~L_

Paul J. Kozacky

EXH|B|T

